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                     IN THE UNITED STATES DISTRICT COURT


                   FOR THE SOUTHERN DISTRICT OF GEORGIA


                                AUGUSTA DIVISION


RUSSELL GAITHER,

             Plaintiff,

      V.                                             CV 121-132


SOUTHERN DISTRICT OF GEORGIA
COURT and THE ELEVENTH CIRCUIT
COURT OF APPEALS,et al.,

             Defendants.



                                      ORDER




      After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion,

DISMISSES this case without prejudice, and CLOSES this civil action.

      SO ORDERED this _^^^day of November, 2021, at Augusta, Georgia.


                                                            :hief judge
                                        UNITE0 STATES DISTRICT COURT
                                                IRN DISTRICT OF GEORGIA
